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                   SCHEDULING ORDER WORKSHEET

DEADLINES & COURT APPEARANCES

_______________ : Exchange of Rule 26(a)(1) disclosures

________________: Service of first interrogatories and document demands

                    : Responses to first interrogatories and document demands

________________: Motions to join new parties or amend the pleadings

 TBD by Court: Status conference in courtroom 820

________________: Completion of depositions

________________: Identification of case-in-chief experts and service of Rule 26 disclosures

________________: Identification of rebuttal experts and service of Rule 26 disclosures

________________: Commencement of summary judgment motion practice.

 TBD by Court:       Pretrial conference in courtroom 820
